   Case 6:06-cr-00026-JRH-CLR Document 1142 Filed 03/03/11 Page 1 of 1
           4


                        UNITED STATES DISTRICT COURT

                        SOUTHERN DISTRICT OF GEORGIA

                              STATESBORO DIVISION

BOB AARON MIKELL         )
                         )
    V.                   )                        Case No. 6:09-CV-065
                         )                                  6:06-CR-026
UNITED STATES OF AMERICA )

                                         ORDER

       Bob Aaron Mikell has filed numerous objections to the Magistrate Judge's Report

and Recommendation. The Court has examined his objections and observes that the

Magistrate Judge has addressed the issues. This Court sees no justifiable reason to differ

from the conclusions reached in the Report and Recommendation.

       After a careful de novo review of the record in this case, the Court concurs with the

Magistrate Judge's Report and Recommendation, to which objections have been filed.

Accordingly, the Report and Recommendation of the Magistrate Judge is adopted as the

opinion of the Court.

               SO ORDERED, this(      3day of March, 2011.
                                                                                         ,

                                                  . Avai4tEdenfield
                                                 United States District Judge
                                                 For the Southern District of
